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                    IN THE UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION
12
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
13   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) [PROPOSED] ORDER GRANTING
14   a Delaware corporation                 ) JOINT STIPULATION FOR LEAVE
                                            )
15               Plaintiffs,                ) TO FILE JOINT ADMITTED
                                            ) EXHIBIT LIST FOR NOVEMBER
16         v.                               ) 2024 TRIAL
                                            )
17   APPLE INC., a California corporation   )
                                            )
18               Defendant.                 ) Hon. James V. Selna
                                            )
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1         The Court, having considered the parties’ Joint Stipulation for Leave to File the
2    Joint Admitted Exhibit List for the November 2024 Trial, and finding good cause,
3    hereby GRANTS the parties leave to file their Joint Admitted Exhibit List for the
4    November 2024 Trial.
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6    IT IS SO ORDERED.
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8    Dated: ______________                      _________________________
                                                 Honorable James V. Selna
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